
In re: Hopewell Inc.; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Red River, 39th Judicial District Court Div. O, No. 30,820; to the Court of Appeal, Second Circuit, No. 33,-774-CW.
Granted. Judgment of the Court of Appeal is reversed. Judgment of the trial court denying defendant’s exception of no right of action is reinstated. Prados v. South Central Bell Telephone Company, 329 So.2d 744 (La.1975) (on rehearing), which the Court of Appeal relied upon, involves rights arising under a lease and is distinguishable from the instant facts. Case remanded to the trial court for further proceedings.
CALOGERO, C.J., would grant and docket.
VICTORY and TRAYLOR, JJ., would deny the writ.
